              EXHIBIT I TO 2255 MOTION
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                               EXHIBIT I TO 2255 MOTION , TRANSCRIPT REFERENCES TO EXPERT TESTIMONY BY DER‐YEGHIAYAN
    Testifying Witness            Transcript Page#   Topic of Discussion                 Area of Expertise              Some of the objections that should have been made
    A. Der‐Yeghiayan ("D‐Y")            65           Testimony re types of drugs being Knowledge of chemist or          Calls for expert testimony, witness not qualified, lay
                                                     seized from the mail coming into toxicologist                      witness not permitted to address. Rules 701, 702.
1                                                    O'Hare International Airport                                       Foundation ‐ it is not clear who seized the items
                                                                                                                        described. Hearsay ‐ D‐Y may simply have been
                                                                                                                        repeating what he had been told.
    D‐Y                                 65           Explanation of meaning of            Legal opinion; knowledge of   Calls for expert testimony, witness not qualified, lay
2                                                    Schedule I and Schedule II           chemist or toxicologist       witness not permitted to address. Rules 701, 702.
                                                     controlled substances
    D‐Y                                 67           Identification of item found in mail Legal opinion; knowledge of   Calls for expert testimony, witness not qualified, lay
                                                     as ecstasy pills                     chemist or toxicologist       witness not permitted to address. Rules 701, 702.
3                                                                                                                       Foundation ‐ it is not clear who seized the items
                                                                                                                        described. Hearsay ‐ D‐Y may simply have been
                                                                                                                        repeating what he had been told.
    D‐Y                                 68           Explanation of field test to        Knowledge of chemist or        Calls for expert testimony, witness not qualified, lay
                                                     [presumptively] identify drugs,     toxicologist                   witness not permitted to address. Rules 701, 702.
                                                     performed by D‐Y                                                   Explanation is irrelevant under Rule 402, unfair
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                                                                                                                        prejudice, misleads jury, under Rule 403 ‐field tests
                                                                                                                        are not reliable for drug identification. Confirmation is
                                                                                                                        required by lab testing.
    D‐Y                                 69           Witness testifies he tested         Knowledge of chemist or        Calls for expert testimony, witness not qualified, lay
                                                     substances found in several         toxicologist                   witness not permitted to address. Rules 701, 702.
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                                                     envelopes, and the substances
                                                     were identified as various drugs.
    D‐Y                                 72           Witness testifies there were        Knowledge of chemist or        Calls for expert testimony, witness not qualified, lay
                                                     approximately 3600 drug seizures    toxicologist                   witness not permitted to address. Rules 701, 702.
                                                     made from October 2011 through                                     Foundation ‐ it is not clear who seized the items
                                                     April 2013, and that number of                                     described, who tested what was seized, what kinds of
                                                     seizures was higher than any                                       tests were performed, and what results of any tests
6
                                                     previous year.                                                     were. Hearsay ‐ D‐Y may simply have been repeating
                                                                                                                        what he had been told. It is not possible that this one
                                                                                                                        person was responsible for all seizures of suspected
                                                                                                                        drugs at O'Hare Airport from October 2011 through
                                                                                                                        April 2013.
    D‐Y                                 73           Witness testifies that drug seizures Knowledge of chemist or       Calls for expert testimony, witness not qualified, lay
                                                     as represented in boxes shown in toxicologist, manager of          witness not permitted to address. Rules 701, 702.
                                                     exhibit, far exceeded drug seizures laboratory, etc.               Foundation ‐ it is not clear who compiled the data the
                                                     in some unknown number of prior                                    witness is referencing, whether any suspected drugs
                                                     years.                                                             from prior years or in time of SR investigation when D‐
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                                                                                                                        Y was directly involved, were properly tested and
                                                                                                                        identified, what drugs were seized and identified, or
                                                                                                                        how any experience from prior years was relevant.
                                                                                                                        Hearsay ‐ D‐Y may simply have been repeating what
                                                                                                                        he had been told.
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     D‐Y    74‐75      Silk Road ("SR") website, illegality   Legal opinions re illegality of    Calls for expert testimony, witness not qualified, lay
                       of items listed for sale on the SR;    advertised substances; drug        witness not permitted to address. Rules 701, 702.
                       comparisons made by D‐Y                expertise, knowledge of chemist or
8                      between items advertised on the        toxicologist who identified items
                       SR and drug seizures that were         seized at O'Hare;
                       being made at O'Hare
                       International Airport
     D‐Y     75        Whether search warrants were           Legal opinion                       Calls for expert testimony, witness not qualified, lay
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                       required for border searches                                               witness not permitted to address. Rules 701, 702.
     D‐Y     76        These are the three ecstasy pills,     Drug identification expertise ‐     Calls for expert testimony, witness not qualified, lay
                       right?     D‐Y: Correct.               chemist, toxicologist, etc.         witness not permitted to address. Rules 701, 702.
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                                                                                                  Foundation ‐ it is not clear who identified these items
                                                                                                  as ecstasy pills.
     D‐Y     79        Description of drugs being seized      Drug identification expertise ‐     Calls for expert testimony, witness not qualified, lay
                       by HSI, identification of LSD, D‐Y     chemist, toxicologist, etc.         witness not permitted to address. Rules 701, 702.
                       claims to have personally tested                                           Foundation ‐ it is not clear who seized the items
11
                       the suspected controlled                                                   described by D‐Y. Hearsay ‐ D‐Y may simply have been
                       substance.                                                                 repeating what he had been told about the seizure.

     D‐Y     80        Identification of items shown in       Drug identification expertise ‐     Calls for expert testimony, witness not qualified, lay
                       photograph as various drugs            chemist, toxicologist, etc.         witness not permitted to address. Rules 701, 702.
                       amphetamine, ecstasy pills,                                                Foundation ‐ it is not clear who seized the various
12                     MDMA, crystal                                                              items described by D‐Y, or who, if anyone, tested the
                                                                                                  supposed drugs. Hearsay ‐ D‐Y may simply have been
                                                                                                  repeating what he had been told about the seizures
                                                                                                  and any drug identification
     D‐Y     81        Identification of various items as Drug identification expertise ‐         Calls for expert testimony, witness not qualified, lay
                       drugs from one vendor; testimony chemist, toxicologist, etc.               witness not permitted to address. Rules 701, 702.
                       that various items identified as                                           Foundation ‐ it is not clear who supposedly tested the
13
                       drugs tested positive as drugs.                                            various items described by D‐Y. Hearsay ‐ D‐Y may
                                                                                                  simply have been repeating what he had been told
                                                                                                  about the seizures and any drug identification
     D‐Y     82        Testimony that various drugs were Drug identification expertise ‐          Calls for expert testimony, witness not qualified, lay
                       received from one particular      chemist, toxicologist, etc.              witness not permitted to address. Rules 701, 702.
                       vendor, the same drugs as offered                                          Foundation ‐ it is not clear who supposedly received or
14                     on the SR.                                                                 tested the various items described by D‐Y. Hearsay ‐ D‐
                                                                                                  Y may simply have been repeating what he had been
                                                                                                  told about the seizures and any drug identification

     D‐Y     84        Explains what a "dot onion" web Internet expertise, expertise with Calls for expert testimony, witness not qualified, lay
                       address is, what the Tor network Tor, the Dark Web, Tor hidden      witness not permitted to address. Rules 701, 702.
                       is, how the Tor network that       services, "dot onion" addresses,
15                     "anonymizes your traffic,
                       anonymizes who you are, and
                       allows you to visit Tor hidden
                       services.
     D‐Y     85        Whether the Tor network is illegal Legal expertise                  Calls for expert testimony, witness not qualified, lay
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                                                                                           witness not permitted to address. Rules 701, 702.
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     D‐Y      85       How using the Tor network differs Internet expertise, expertise with Calls for expert testimony, witness not qualified, lay
                       from browsing the internet with Tor, expertise with "ordinary        witness not permitted to address. Rules 701, 702.
17
                       "an ordinary browser:             browsers."

     D‐Y      86       How Tor protects anonymity, what Internet expertise, Tor expertise,        Calls for expert testimony, witness not qualified, lay
                       it conceals, what an IP address is, computer network traffic, how IP       witness not permitted to address. Rules 701, 702.
18                     whether it is unique, what IP       addresses are created and
                       addresses are used for              assigned, how IP addresses are
                                                           used in network traffic
     D‐Y    87‐91      Witness provided video showing Internet and Tor expertise                  Calls for expert testimony, witness not qualified, lay
                       how to sign onto the Tor network,                                          witness not permitted to address. Rules 701, 702.
                       how the witness thinks that IP
                       addresses are used on the
                       internet, also showed a dot onion
                       address and explained how that is
19
                       used on the Tor network, how he
                       thinks IP addresses reveal
                       computer locations, how Tor
                       shows IP addresses that do not
                       reflect a device's actual location

     D‐Y      91       Explains what an internet service Internet industry expertise              Calls for expert testimony, witness not qualified, lay
                       provider is, what technical services                                       witness not permitted to address. Rules 701, 702.
20
                       they provide, including provision of
                       IP addresses
     D‐Y      92       How Tor hides a user's location      Internet and Tor expertise            Calls for expert testimony, witness not qualified, lay
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                                                                                                  witness not permitted to address. Rules 701, 702.
     D‐Y    93‐95      What a computer server is; how to Computer science or Internet             Calls for expert testimony, witness not qualified, lay
22                     locate computer servers; how to expertise or computer network              witness not permitted to address. Rules 701, 702.
                       use the who.is website                expertise
     D‐Y   135 ‐ 139   Explanation of how the Tor            Internet and Tor expertise           Calls for expert testimony, witness not qualified, lay
23                     browser works and hides IP                                                 witness not permitted to address. Rules 701, 702.
                       addresses
     D‐Y     143       What kind of drug is testosterone Chemistry or biochemistry                Calls for expert testimony, witness not qualified, lay
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                                                             expertise                            witness not permitted to address. Rules 701, 702.
     D‐Y     151       What is bitcoin ‐ a virtual currency, Cryptocurrency expertise,            Calls for expert testimony, witness not qualified, lay
                       what are its advantages, how it       knowledge of bitcoin in particular   witness not permitted to address. Rules 701, 702.
25
                       anonymizes users

     D‐Y     152       How do payments with bitcoin         Cryptocurrency and credit card        Calls for expert testimony, witness not qualified, lay
26                     compare with payments with           payment expertise                     witness not permitted to address. Rules 701, 702.
                       credit cards
     D‐Y     152       Is using bitcoin illegal             Legal opinion                         Calls for expert testimony, witness not qualified, lay
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                                                                                                  witness not permitted to address. Rules 701, 702.
     D‐Y   152‐153     How can bitcoin be acquired, what Bitcoin expertise                        Calls for expert testimony, witness not qualified, lay
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                       are bitcoin exchangers                                                     witness not permitted to address. Rules 701, 702.
     D‐Y     153       How does buying bitcoin compare Currency and cryptocurrency                Calls for expert testimony, witness not qualified, lay
29                     with exchanging dollars for foreign expertise                              witness not permitted to address. Rules 701, 702.
                       currency
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     D‐Y   153‐154     How did the price of bitcoin             Cryptocurrency valuation expertise Calls for expert testimony, witness not qualified, lay
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                       fluctuate over time                                                         witness not permitted to address. Rules 701, 702.
     D‐Y   154‐158     Government demonstration of              Bitcoin expertise                  Calls for expert testimony, witness not qualified, lay
31
                       purchase of bitcoin                                                         witness not permitted to address. Rules 701, 702.
     D‐Y     158       What is a bitcoin address, how           Bitcoin and banking expertise      Calls for expert testimony, witness not qualified, lay
32                     does it work , like a bank account                                          witness not permitted to address. Rules 701, 702.
                       number
     D‐Y   158‐159     Bitcoin address is an account that       Bitcoin expertise                   Calls for expert testimony, witness not qualified, lay
                       exists so the bitcoin has it's called                                        witness not permitted to address. Rules 701, 702.
                       a block chain and it's what is its
                       internal ledger that basically
33                     documents all transactions to and
                       from . . . It is basically using those
                       addresses, and they are all part of
                       what's called, it is the block chain

     D‐Y     159       Is bitcoin controlled by like a      Bitcoin expertise                       Calls for expert testimony, witness not qualified, lay
34                     government? Is it a government‐                                              witness not permitted to address. Rules 701, 702.
                       issued currency? No, it is not.
     D‐Y     159       Who owns the computers that run Bitcoin expertise                            Calls for expert testimony, witness not qualified, lay
                       the bitcoin network? It is public,                                           witness not permitted to address. Rules 701, 702.
                       something you could download,
35
                       and once you download the
                       program you become part of the
                       network
     D‐Y     160       If you have a transfer of money      Banking expertise                       Calls for expert testimony, witness not qualified, lay
                       from one bank to another, who                                                witness not permitted to address. Rules 701, 702.
36
                       keeps track of that information?
                       Generally the bank does
     D‐Y     160       So if you have bitcoin transferred , Bitcoin and blockchain expertise        Calls for expert testimony, witness not qualified, lay
                       how is that kept track of? The                                               witness not permitted to address. Rules 701, 702.
                       transactions are recorded within
                       the network, within the block
37                     chain, and since the block chain
                       exists on every computer that runs
                       the program, it constantly self‐
                       updates. So every transaction it
                       will self‐update . . .
     D‐Y     160       Is there a single block chain? It is a Blockchain expertise                  Calls for expert testimony, witness not qualified, lay
38                     universal block chain that                                                   witness not permitted to address. Rules 701, 702.
                       everybody uses.
     D‐Y     161       What is a transaction ID number? Blockchain expertise                        Calls for expert testimony, witness not qualified, lay
                       The long string is a unique                                                  witness not permitted to address. Rules 701, 702.
39
                       transaction number . . and it is also
                       on the block chain as well
     D‐Y     162       So you said before that every time Blockchain expertise                      Calls for expert testimony, witness not qualified, lay
                       you do a bitcoin transaction,                                                witness not permitted to address. Rules 701, 702.
40                     remind me, what happens to the
                       block chain? A. The block chain
                       updates.
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     D‐Y     163       Is there any information that ties Blockchain expertise                 Calls for expert testimony, witness not qualified, lay
                       those addresses on the left to Mt.                                      witness not permitted to address. Rules 701, 702.
                       Gox, or this one to Silk Road? No,
41                     there is not. Is there any
                       information on the block chain
                       that ties any of this money to you?
                       No.
     D‐Y     177       I know this came from the           International mailing expertise    Calls for expert testimony, witness not qualified, lay
42                     Netherlands . . based on the stamp                                     witness not permitted to address. Rules 701, 702.
                       that's on there                                                        Hearsay.
     D‐Y     178       plastic bags that had a brown       Chemistry or toxicology expertise  Calls for expert testimony, witness not qualified, lay
43                     powder substance that later tested                                     witness not permitted to address. Rules 701, 702.
                       positive for heroin                                                    Hearsay.
     D‐Y     178       Is this the same crack cocaine that Chemistry or toxicology expertise  Calls for expert testimony, witness not qualified, lay
44                     we saw earlier? This is the same.                                      witness not permitted to address. Rules 701, 702.
                                                                                              Hearsay.
     D‐Y     180       a clear plastic baggie, which        Chemistry or toxicology expertise Calls for expert testimony, witness not qualified, lay
                       contained a white, crystal‐like                                        witness not permitted to address. Rules 701, 702.
                       substance that later on . . field‐                                     Hearsay. Explanation is irrelevant under Rule 402,
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                       tested positive for cocaine using                                      unfair prejudice, misleads jury, under Rule 403 ‐ field
                       the reagent test kit.                                                  tests are not reliable for drug identification.
                                                                                              Confirmation is required by lab testing.
     D‐Y     180       nearly all of the orders contained Chemistry or toxicology expertise Calls for expert testimony, witness not qualified, lay
                       drugs, that were sent to the lab for                                   witness not permitted to address. Rules 701, 702.
46                     testing, and nearly all of them                                        Hearsay.
                       tested positive for the drug they
                       were supposed to be
     D‐Y     183       were there any other illegal goods Legal expertise                     Calls for expert testimony, witness not qualified, lay
47                     sold on the Silk road website? Yes                                     witness not permitted to address. Rules 701, 702.

     D‐Y     187       do you know what malware is?        computer science of software        Calls for expert testimony, witness not qualified, lay
48
                       Yes I do. It's a program that . . . expertise                           witness not permitted to address. Rules 701, 702.
     D‐Y     190       Bitcoins are purely digital, right? Bitcoin expertise                   Calls for expert testimony, witness not qualified, lay
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                       Yes.                                                                    witness not permitted to address. Rules 701, 702.
     D‐Y   214 ‐ 215   What is a tumbler, a bitcoin        Bitcoin expertise                   Calls for expert testimony, witness not qualified, lay
                       tumbler? Der‐Y explained what the                                       witness not permitted to address. Rules 701, 702.
50                     thought. What is the advantage of
                       a tumbler? Der‐Y answered.

     D‐Y     219       What does encrypted mean?           Cryptology, computer security       Calls for expert testimony, witness not qualified, lay
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                       Means just protected                                                    witness not permitted to address. Rules 701, 702.
     D‐Y   230‐231     What does instruction "be sure to Computer file data and security,      Calls for expert testimony, witness not qualified, lay
52                     remove all metadata from the file . software, file structure, etc.      witness not permitted to address. Rules 701, 702.
                       . ." mean
     D‐Y   247 ‐ 248   What is a PGP signature and how is Encryption technology                Calls for expert testimony, witness not qualified, lay
53                     it used? Explain PGP public and                                         witness not permitted to address. Rules 701, 702.
                       private keys
     D‐Y     249       How is PGP public key used          Encryption technology               Calls for expert testimony, witness not qualified, lay
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                                                                                               witness not permitted to address. Rules 701, 702.
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     D‐Y     263       most of the goods on sale on Silk   Legal expertise                   Calls for expert testimony, witness not qualified, lay
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                       Road were illegal drugs                                               witness not permitted to address. Rules 701, 702.
     D‐Y     295       What is Adium? Similar to Pidgin   Computer software, programs,       Calls for expert testimony, witness not qualified, lay
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                                                          applications                       witness not permitted to address. Rules 701, 702.
     D‐Y     299       How does Adium keep track of       Computer software, programs,       Calls for expert testimony, witness not qualified, lay
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                       chats                              applications                       witness not permitted to address. Rules 701, 702.
     D‐Y     368       What is benefit of PGP sign        Digital communications security,   Calls for expert testimony, witness not qualified, lay
60                     message? A way to authenticate . . encryption software and            witness not permitted to address. Rules 701, 702.
                       .                                  applications
     D‐Y   370‐384     Witness prepared video             Digital communications security,   Calls for expert testimony, witness not qualified, lay
                       demonstration to show jury how encryption software and                witness not permitted to address. Rules 701, 702.
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                       PGP keys work, played video and applications
                       explained what was shown
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